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   9                             UNITED STATES DISTRICT COURT
 10              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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 12 LA ALLIANCE FOR HUMAN                              CASE NO. 2:20-cv-02291 DOC-KESx
 13 RIGHTS, et al.,
                                                       ORDER GRANTING REQUEST FOR
 14                     Plaintiffs,                    EXTENSION OF TIME TO FILE
                                                       BRIEFS IN RESPONSE TO
 15              v.                                    COURT’S REQUEST [222]
 16 CITY OF LOS ANGELES, et al.,                       Assigned to the Hon. David O. Carter
 17                                                    and Magistrate Judge Karen E. Scott
              Defendants.
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       .1                                                            Case No. 2:20-cv-02291 DOC-KES
            ORDER GRANTING REQUEST FOR EXTENSION OF TIME TO FILE BRIEFS IN RESPONSE TO COURT’S
                                               REQUEST
Case 2:20-cv-02291-DOC-KES   Document 223   Filed 02/12/21   Page 2 of 2 Page ID
                                  #:3919
